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 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF ARIZONA

10

11                                                     Case No.:
12      TIM GRATTAN,
                                                       COMPLAINT FOR VIOLATIONS
13                                                     OF:
                    Plaintiff,
14
        vs.                                            1. THE FAIR CREDIT REPORT
15                                                        ACT, 15 U.S.C. 1681 et seq.; and
        DITECH FINANCIAL, LLC;
16                                                     2. THE FAIR DEBT COLLECTION
        TRANSUNION, LLC; EXPERIAN
                                                          PRACTICES ACT, 15 U.S.C. 1692
17      INFORMATION SOLUTIONS,
                                                          et seq.
        INC.; and DOES 1 to 10, inclusive,
18
                                                       AND DEMAND FOR JURY TRIAL
19                  Defendants.

20

21

22                                          COMPLAINT
                                          INTRODUCTION
23

24    1.      Plaintiff TIM GRATTAN (“Plaintiff”), by and through his attorneys, brings this
25            action to secure redress from unlawful credit practices engaged in by
26            Defendants Ditech Financial, LLC, TransUnion, LLC, and Experian
27            Information Solutions, Inc. Specifically, Plaintiff alleges violations of the Fair
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 1        Credit Report Act, 15 U.S.C. § 1681 et seq. (“FCRA”) and the Fair Debt
 2        Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”)..
 3

 4                             VENUE AND JURISDICTION
 5   2.   Jurisdiction of this Court arises pursuant to 15 U.S.C. § 1681(p), which states
 6        that such actions may be brought and heard before “any appropriate United
 7        States district court, without regard to the amount in controversy.” The Court
 8        has jurisdiction over the state law claims pursuant to 15 U.S.C. § 1367.
 9   3.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the events described in
10        this complaint took place within this district.
11                                         PARTIES
12   4.   Plaintiff TIM GRATTAN is a natural person who resides in the City of Mesa,
13        Maricopa County, Arizona. Plaintiff is a "consumer" as defined by the FCRA,
14        15 U.S.C. § 1681(a).
15   5.   Defendant, Ditech Financial, LLC (hereinafter “Ditech”), is an Pennsylvania
16        corporation, headquartered in the State of Minnesota, with its mailing address at
17        345 St. Peter Street, St. Paul, MN 55102. Defendant Ditech is an entity which
18        engages in the practice of furnishing consumer information to consumer
19        reporting agencies, and is therefore a “furnisher of information” as
20        contemplated by 15 U.S.C. § 1681s-2(a) & (b), and other sections of the FCRA.
21        Further, Defendant Ditech is a “person” as defined by FCRA 1681a(b).
22   6.   Defendant, Experian Information Solutions, Inc. (hereinafter “Experian”), is a
23        national corporation with its principal place of business located at 475 Anton
24        Boulevard, Costa Mesa, California, 92626. At all relevant times herein,
25        Defendant Experian, was an entity which, for monetary fees, dues, or on a
26        cooperative nonprofit basis, regularly engaged in whole or in part in the
27        practice of assembling or evaluating consumer credit information or other
28

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 1        consumer information for the purpose of furnishing consumer reports to third
 2        parties, and used some mean or facility of interstate commerce for the purpose
 3        of preparing or furnishing consumer reports, and is therefore a “consumer
 4        reporting agency” as defined by 15 U.S.C. § 1681a(f).
 5   7.   Defendant, TransUnion, LLC (hereinafter “TransUnion”), is a national
 6        corporation with its principal place of business located at 555 W. Adams St. Fl
 7        2-9, Chicago, IL 60661. At all relevant times herein, Defendant TransUnion,
 8        was an entity which, for monetary fees, dues, or on a cooperative nonprofit
 9        basis, regularly engaged in whole or in part in the practice of assembling or
10        evaluating consumer credit information or other consumer information for the
11        purpose of furnishing consumer reports to third parties, and used some mean or
12        facility of interstate commerce for the purpose of preparing or furnishing
13        consumer reports, and is therefore a “consumer reporting agency” as defined by
14        15 U.S.C. § 1681a(f).
15   8.   Defendants acted through their agents, employees, officers, members, directors,
16        heirs, successors, assigns, principals, trustees, sureties, subrogees,
17        representatives and insurers.
18   9.   Plaintiffs are informed and believe and on that basis allege that Defendants are
19        responsible for the acts, occurrences and transactions as officers, directors or
20        managing agents of Defendants, or as their agents, servants, employees, and
21        that each of them are legally liable to Plaintiffs, as set forth below.
22            FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
23   10. In August of 2007, Plaintiff obtained loan through GMAC Mortgage
24        Corporation in the amount of $50,000.00 (hereinafter the “Loan”).
25   11. GMAC Mortgage Corporation filed bankruptcy in or around 2012 and the Loan
26        began being serviced by Green Tree Servicing, LLC.
27

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 1   12. Green Tree Servicing, LLC then became Ditech; Ditech is the current loan
 2        servicer.
 3   13. The Loan became the subject of Arizona State Court litigation in 2015.
 4   14. Rather than continue with expensive litigation, the parties entered into a
 5        settlement agreement in April of 2015.
 6   15. The settlement agreement states that Plaintiff will pay Ditech $26,000.00.
 7   16. The payments were to be made as follows: a one-time $5,000.00 payment and
 8        then eighty-four (84) monthly payments of $250.00.
 9   17. Plaintiff has complied with this agreement.
10   18. In April of 2016, Plaintiff noticed that Experian, Equifax, and TransUnion were
11        all reporting a balance of $43,829.00 purportedly owed to Ditech on his credit
12        report.
13   19. Plaintiff reached out to Ditech’s Counsel that prepared the settlement agreement
14        to confirm the balance he owed and their receipt of all of his payments.
15   20. Once Plaintiff confirmed that all payments had been received and properly
16        applied, he sent dispute letters dated May 12, 2016 to Experian, Equifax, and
17        TransUnion asking the balances to be updated according to the settlement
18        agreement and that the payment history no longer show him as late since the
19        payments were being timely made.
20   21. Plaintiff attached to the dispute letters a letter from Shapiro, Van Ess &
21        Sherman, LLP (the attorneys who represent Ditech in the settlement), dated
22        May 11, 2016, that detailed the agreement and the payments that had been
23        made.
24   22. That letter detailed payments from May 14, 2015 through April 21, 2016 and an
25        updated remaining balance of $18,250.00.
26   23. Upon receipt of the dispute letter, Equifax deleted the trade line completely.
27

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 1   24. Upon receipt of the dispute letter, Experian updated the balance to another
 2        incorrect number: $42,578.00; Experian has also continued to mark the account
 3        as charged-off every month from January 2011 through May 2016 despite
 4        evidence of the payments having been made in accordance with the settlement
 5        agreement since April of 2015.
 6   25. Upon receipt of the dispute letter, TransUnion updated the balance to the
 7        correct $18,250.00.
 8   26. TransUnion, however, continued to mark the account as charged-off every
 9        month from March 2013 through March 2016.
10   27. On June 8, 2016, Ditech sent Plaintiff a letter directly to Mr. Grattan regarding
11        the account, despite knowing that Mr. Grattan was represented by Counsel
12        related to the account.
13   28. On June 14, 2016, Ditech sent Plaintiff another letter related to the account, this
14        time the letter was sent to Plaintiff’s attorney.
15   29. On June 17, 2016, Ditech sent Plaintiff another letter related to the account, this
16        letter was nearly identical to the June 14 letter and was also sent to Plaintiff’s
17        Counsel.
18   30. Despite Plaintiffs’ efforts to remove the erroneous information, Defendants
19        have nonetheless willfully and negligently failed to perform a reasonable
20        investigation of the above disputes as required by the FCRA, have failed to
21        correct the inaccurate information, have failed to include accurate information,
22        have failed to report on the results of the reinvestigations and have continued to
23        report the false information about Plaintiff.
24   31. As a result of Defendants’ conduct, Plaintiff has suffered actual damages and
25        serious financial harm arising from monetary losses related to credit denials,
26        loss of use of funds, loss of credit and loan opportunities, excessive and/or
27        elevated interest rate and finance charges, out-of-pocket expenses including, but
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 1       not limited to, local or long distance telephone charges, postage, faxing and
 2       other related costs, all of which will continue into the future to Plaintiffs’ great
 3       detriment and loss.
 4   32. As a result of Defendants’ conduct, Plaintiff has suffered actual damages in the
 5       form of financial and dignitary harm arising from the injury to credit rating and
 6       reputation, and Plaintiff will continue to suffer the same for an indefinite time
 7       in the future, all to Plaintiff’s great detriment and loss.
 8   33. As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit
 9       score as a result of the negative entry appearing on Plaintiff’s credit file,
10       preventing him from being able to obtain credit.
11   34. As a result of Defendants’ conduct, Plaintiff has suffered great physical,
12       emotional and mental pain and anguish, and Plaintiff will continue to suffer the
13       same for an indefinite time in the future, all to Plaintiff’s great detriment and
14       loss.
15

16                COUNT I – FIRST CLAIM FOR RELIEF
17
                  DEFENDANT DITECH FINANCIAL, LLC
         FAIR CREDIT REPORTING ACT, (FCRA), 15 U.S.C. § 1681 et seq.
18
19   35. Plaintiff incorporates the foregoing paragraphs as though the same were set
20       forth at length herein.
21   36. The FCRA requires a furnisher such as Ditech, after receiving notice from a
22       credit reporting agency that a consumer disputes information that is being
23       reported by that furnisher, to conduct an investigation with respect to the
24       disputed information, to review all relevant information, to report the results of
25       the investigation to the credit reporting agency, and, if the investigation reveals
26       that the information is incomplete or inaccurate, to report those results to all
27

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 1       other credit reporting agencies to which the furnisher has provided the
 2       inaccurate information.
 3   37. Within the last two years, Defendant Ditech provided inaccurate information to
 4       the credit reporting agencies.
 5   38. Within the past two years, Plaintiff notified Experian, Equifax, and Transunion
 6       that Plaintiff’s reports concerning Ditech were inaccurate. Thereafter, the credit
 7       reporting agencies notified Ditech that Plaintiff was disputing the information it
 8       had furnished to the credit reporting agencies.
 9   39. Ditech violated 15 U.S.C. §§ 1681n and 1681o of the FCRA by engaging in the
10       following conduct that violates 15 U.S.C. §1681s-2(b);
11          a. willfully and negligently failing to conduct an investigation of the
12              inaccurate information that Plaintiff disputed;
13          b. willfully and negligently failing to review all relevant information
14              concerning Plaintiff’s account provided to Ditech;
15          c. willfully and negligently failing to report the results of investigations to
16              the relevant consumer reporting agencies;
17          d. willfully and negligently failing to report the inaccurate status of the
18              inaccurate information to all credit reporting agencies;
19          e. willfully and negligently failing to properly participate, investigate and
20              comply with the reinvestigations that were conducted by any and all
21              credit reporting agencies concerning the inaccurate information disputed
22              by Plaintiff;
23          f. willfully and negligently continuing to furnish and disseminate inaccurate
24              and derogatory credit, account and other information concerning the
25              Plaintiff to credit reporting agencies;
26
27

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 1          g. willfully and negligently continuing to furnish and disseminate inaccurate
 2              and derogatory credit, account and other information concerning
 3              Plaintiff’s account to credit reporting agencies; and
 4          h. willfully and negligently failing to comply with the requirements
 5              imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2(b).
 6   40. In attempting to collect the aforementioned alleged debt, the Defendants, by and
 7       through their agents and employees, violated the provisions of the Fair Credit
 8       Reporting Act by furnishing information on the Plaintiff to one or more
 9       consumer reporting agency although Defendant knew, or consciously avoided
10       knowing, that the information was inaccurate.
11   41. Ditech’s conduct was a direct and proximate cause, as well as a substantial
12       factor, in causing the serious injuries, damages and harm to Plaintiff that are
13       outlined more fully above, and as a result, Defendants are liable to compensate
14       Plaintiff for the full amount of statutory, actual and punitive damages, along
15       with attorneys’ fees and costs, as well as other such relief, permitted by 15
16       U.S.C. § 1681n.
17

18               COUNT II – SECOND CLAIM FOR RELIEF
19
           DEFENDANT DITECH FINANCIAL, LLC VIOLATED THE
     FAIR DEBT COLLECTION PRACTICES ACT, (FDCPA), 15 U.S.C. § 1692 et
20                               seq.
21   42. Plaintiffs incorporate the foregoing paragraphs as though the same were set
22       forth at length herein.
23   43. Defendant Ditech violated the FDCPA. Defendant’s violations include, but are
24       not limited to:
25          a. 15 U.S.C. § 1692c(a)(2) – Defendant engaged in communication with
26              Plaintiff through the letter dated June 8, 2016, after Defendant was aware
27

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 1              that Plaintiff was being represented by an attorney in regards to the
 2              alleged debt.
 3          b. 15 U.S.C. § 1692c(c) – Defendant continued to communicate with
 4              Plaintiff through the letter dated June 8, 2016, after they were informed
 5              of Plaintiff’s representation and his request to not be contacted directly
 6              any further.
 7

 8               COUNT III – THIRD CLAIM FOR RELIEF
 9
         DEFENDANTS TRANSUNION AND EXPERIAN VIOLATED THE
         FAIR CREDIT REPORTING ACT, (FCRA), 15 U.S.C. § 1681 et seq.
10
     44. Plaintiffs incorporate the foregoing paragraphs as though the same were set
11
         forth at length herein.
12
     45. The Fair Credit Reporting Act provides that if the completeness or accuracy of
13
         any item of information contained in a consumer's file at a consumer reporting
14
         agency is disputed by the consumer and the consume notifies the agency
15
         directly of such dispute, the agency shall conduct a reasonable reinvestigation
16
         to determine whether the disputed information is inaccurate, or delete the item
17
         from the file within 30 days of receiving the consumer's dispute notice. 15 USC
18
         § 1681i(a)(l)(A).
19
     46. The Act further requires the credit reporting agency, within 5 business days of
20
         receiving notice of the consumer's dispute, to provide notification of the dispute
21
         to the person who furnished the information in dispute and requires the credit
22
         reporting agency to "include all relevant information regarding the dispute that
23
         the agency received from the consumer." 15 USC § 1681i(a)(2) (A). In
24
         conducting its reinvestigation of disputed information in a consumer report, the
25
         credit reporting agency is required to "review and consider all relevant
26
         information submitted by the consumer."
27

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 1    47. Within the two years preceding the filing of this complaint, Plaintiff notified
 2         Defendants TransUnion and Experian of an inaccuracy contained in its reports
 3         and asked them to correct the inaccuracy.
 4    48. Defendants TransUnion and Experian failed to conduct a reasonable
 5         reinvestigation of the inaccuracies that Plaintiffs disputed.
 6    49. Defendants TransUnion and Experian failed to review and consider all relevant
 7         information submitted by Plaintiffs.
 8    50. The defendant credit reporting agencies failed to employ and follow reasonable
 9         procedures to assure maximum possible accuracy of Plaintiff’s credit reports,
10         information and file, in violation of 15 U.S.C. § 1681e(b).
11    51. As a result of the above-described violations of 15 U.S.C. § §1681i and
12         1681e(b), Plaintiff has sustained damages.
13    52. Defendants TransUnion and Experian’s violations of the FCRA were willful
14         and therefore Plaintiff is therefore entitled to also seek statutory and punitive
15         damages.
16

17                                   PRAYER FOR RELIEF
18   WHEREFORE, Plaintiff respectfully prays that judgment be entered against
19   Defendants for the following:
20            A. Actual damages;
21            B. Statutory damages;
22            C. Punitive damages;
23            D. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n and
24               1681o; and
25            E. Such other and further relief as the Court deems proper.
26
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 1                              DEMAND FOR JURY TRIAL
 2          PLEASE TAKE NOTICE that Plaintiff, TIM GRATTAN, demands trial by jury in
 3   this action.
 4

 5
                                              Respectfully Submitted,
 6

 7
            June 27, 2016                     /s/ David A. Chami
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